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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE


SIERRA CLUB, NATURAL                    )
RESOURCES COUNCIL OF MAINE,             )
and APPALACHIAN MOUNTAIN                )
CLUB,                                   )
                                        )
             Plaintiffs                 )
                                        )
      v.                                )             No. 2:20-cv-396-LEW
                                        )
UNITED STATES ARMY CORPS                )
OF ENGINEERS, COL. JOHN A.              )
ATILANO II, in his official capacity    )
as District Commander and District      )
Engineer, and UNITED STATES             )
DEPARTMENT OF ENERGY,                   )
                                        )
             Defendants                 )
                                        )
      v.                                )
                                        )
CENTRAL MAINE POWER                     )
COMPANY and NECEC                       )
TRANSMISSION LLC,                       )
                                        )
             Intervenor-Defendants      )

           ORDER ON CROSS MOTIONS FOR SUMMARY JUDGMENT
                   ON THE ADMINISTRATIVE RECORD


      The matter is before the Court for the entry of final judgment on cross motions for

summary judgment on the administrative record. See Plaintiffs’ Motion for Summary

Judgment (ECF No. 177); Intervenor-Defendants’ Opposition to Plaintiffs’ Motion for
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Summary Judgment and Cross Motion for Summary Judgment (ECF No. 181); Federal

Defendants’ Corrected Motion for Summary Judgment and Response in Opposition to

Plaintiffs’ Motion for Summary Judgment (ECF No. 183). For reasons that follow,

Defendants’ Motions for Summary Judgment are GRANTED and Plaintiffs’ Motion for

Summary Judgment is DENIED.

                                  LEGAL BACKGROUND

       The Sierra Club, the Natural Resources Council of Maine, and the Appalachian

Mountain Club (“AMC”) (“Plaintiffs”) filed this civil action to challenge the decision of

the United States Army Corps of Engineers (“the Corps”) to issue a permit to Intervenor-

Defendant Central Maine Power Company (“CMP”) that authorizes CMP to discharge

certain materials into waters during construction of a new energy transmission corridor

from the Canadian border to the Forks Plantation (the “Project”). Through a Second

Amended Complaint, Plaintiffs joined a related claim against the Department of Energy

that challenges the Department of Energy’s decision to issue a presidential permit

authorizing an international boundary connection between CMP’s transmission corridor

and electrical facilities located in the Province of Quebec. The case presents issues arising

under the Clean Water Act, Executive Order 10485, the National Environmental Policy

Act, and the Administrative Procedures Act.

       The Clean Water Act (“CWA”) assigns to the Corps the authority to issue permits

for projects that involve or require discharges of pollutants into navigable waters of the




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United States (“WOTUS”). 33 U.S.C. §§ 1342, 1344. 1 The applicable CWA regulatory

scheme required the Corps to evaluate the Project’s anticipated impacts on the public

interest. 33 C.F.R. § 320.4. When exercising its review responsibilities over private

projects under the CWA, the Corps’ obligation is to carry out the CWA’s statutory purpose

of “restor[ing] and maintain[ing] the chemical, physical, and biological integrity of the

Nation’s waters,” 33 U.S.C. § 1251(a), not restoring or maintaining flora and fauna values

existing outside of these waters. See also 40 C.F.R. § 230.1(a) (purpose of CWA regulatory

Guidelines is the same but drawn in terms of “aquatic ecosystems”).

        The Department of Energy (“Energy”) is a defendant in this matter based on its

issuance of a presidential permit for the Project’s cross-border electrical transmission

connection. Executive Order 10485 (Sept. 3, 1953), as amended by Executive Order 12038

(Feb. 3, 1978), provides that “the proper conduct of the foreign relations of the United

States requires that executive permission be obtained for the construction and maintenance

at the borders of the United States of facilities for the exportation or importation of electric

energy and natural gas.”

        The Corps’ and Energy’s exercise of their respective permitting authority was

informed by the National Environmental Policy Act (“NEPA”). “NEPA declares a broad

national commitment to protecting and promoting environmental quality.” Robertson v.

Methow Valley Citizens Council, 490 U.S. 332, 348 (1989). NEPA supplements a federal


1
  The construction project also involves installation of transmission facilities beneath the Kennebec River.
Though that activity does not call for the discharge of pollutants into the River, the Corps has jurisdiction
to permit such activity under the Rivers and Harbors Act, 33 U.S.C. § 403. The pending motions do not
discuss the Rivers and Harbors Act or suggest that any pollutants will be discharged into the Kennebec
River.

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agency’s permit review process by superimposing a variety of procedural requirements,

including public notice and public input requirements, and the preparation of an

environmental assessment (“EA”) or, in more impactful scenarios, a more detailed

environmental impact statement (“EIS”). 42 U.S.C. §§ 4332-36e. As part of its enactment

of NEPA, Congress established a Council on Environmental Quality (“CEQ”) to, among

other things, formulate national policy on environmental matters, including matters

associated with the implementation of NEPA. 42 U.S.C. §§ 4321, 4342, 4344. CEQ

regulations are, therefore, also at issue.

       Finally, the Administrative Procedure Act (“APA”) provides United States District

Courts with judicial power to review the Corps’ and Energy’s decisions under the

aforementioned statutes, with the possible exception of the presidential permit issued under

Executive Order 10485. The APA instructs reviewing courts to “hold unlawful and set

aside agency action, findings, and conclusions found to be” “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). Judicial

review under this standard is deferential. To vacate and remand an agency’s decision a

district court must conclude that the agency relied on considerations that Congress did not

intend, entirely disregarded or overlooked an important aspect of the problem, or explained

the basis for its decision in a way that runs counter to the evidence of record or is “so

implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Nat’l Ass’n of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 658

(2007) (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 43 (1983)).

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      Because my review is limited to the administrative record, there are no issues of

material fact, and summary judgment is an appropriate procedure for resolving these

challenges. Protect Our Lakes v. U.S. Army Corps of Eng’rs, No. 1:13-CV-402-JDL, 2015

WL 732655, at *2 (D. Me. Feb. 20, 2015).

                                FACTUAL BACKGROUND

      The following background is drawn from the parties briefs and associated record

citations. It is not a comprehensive statement concerning the New England Clean Energy

Connect (“NECEC”) Transmission Project. To the extent greater factual detail is needed

for the discussion of an issue, the relevant background is supplemented in the discussion.

      The Project is a large-scale electrical power transmission corridor designed,

principally, to connect a source of non-fossil-fuel energy (Hydro Quebec) with a New

England population center (Boston). The portion of the Project that gives rise to this

litigation is that portion of the Project that traverses the Western Maine Mountains for

roughly 53 miles. The Project requires permits from the Corps to authorize ground drilling

and the discharge of pollutants into wetlands to support infrastructure, and the temporary

covering of wetlands with construction pads and streams with bridges to enable equipment

to transit the Project for purposes of tree cutting, hole drilling, pole-installation, and

transmission line-running activity. The Project also involves a subterranean crossing of

the Kennebec River.

      Beyond the primary activities that compel CWA and Rivers and Harbors Act

(“RHA”) permits from the Corps, the Project involves some secondary impacts to waters.

For example, some of the canopy cover will be cleared in the vicinity of power lines,

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including in areas where the Project traverses streams that support brook trout populations.

The reduction in cover can result in increased water temperatures. Additionally, the Project

includes certain mitigation measures tied directly to water-related concerns. For example,

the Project involves the replacement of preexisting road culverts with bridges that are

anticipated to improve stream bed conditions for aquatic life. The Project will also suspend

power lines over waterbodies, producing a visual impact for persons present on those

waterbodies. Yet another step removed from the CWA and RHA concerns that require

permitting by the Corps are a host of ecological impacts associated with land-based flora

and fauna, such as land-based habitat fragmentation.

       At the state level, Maine’s Department of Environmental Protection (“MDEP”),

Land Use Planning Commission, and Public Utilities Commission (“MPUC”), and state

courts have reviewed and approved the Project on a more comprehensive scale. In so

doing, the state agencies extracted substantial concessions and mitigation measures that

attest to the environmental significance of the Project writ large. However, although the

Project as a whole has a significant impact on environmental interests, it does not

automatically follow that the permitting authority of the Corps is therefore transformed

into an authority to permit or scrutinize components of the Project that do not involve the

discharge of pollutants into or the drilling of a subterranean passage under waters of the

United States.

       In terms of the Department of Energy’s permitting authority, it is not apparent that

there is any special environmental concern at the border between the United States and

Canada. Plaintiffs contend, instead, that Energy’s involvement in reviewing the

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presidential permit application, when combined with the Corps involvement, lends the

Project the kind of federal imprimatur that transforms it into a federal project rather than a

private project that requires federal permits.

          At the conclusion of the administrative process, first the Corps and then Energy

produced NEPA environmental assessments (“EAs”) that concluded with findings of no

significant environmental impacts (“FONSIs”). These assessments flowed from the more

narrowly focused concerns associated with their respective permits (discharges into waters

and the border connection).            However, as part of its CWA review, the Corps also

determined that the Project would not harm the public’s interest. Consequently, the Corps

discussed environmental concerns at length in its permitting decision, including

comprehensive environmental concerns associated with the Project. Energy did likewise,

insofar as it incorporated the Corps’ environmental assessment into its own permitting

decision. Though they accepted public input for purposes of compiling the administrative

records and considered what the public had to say, 2 neither the Corps nor Energy circulated


2
    From Intervenor-Defendants:

          The Corps issued a Public Notice soliciting comments on March 26, 2019. Corps_20198.
          Subsequently, on November 1, 2019, the Corps issued another Public Notice announcing
          that it would hold a public hearing on December 5, 2019 and would continue to receive
          comments until January 6, 2020. Corps_39239. Hundreds of comments were submitted,
          and more than 300 individuals attended the hearing, resulting in a robust record.
          Corps_59078 at 59119-20. The Corps also participated in six days of public hearings
          before MDEP, which “highlighted the impacts the proposed project would have on fish
          and wildlife habitat, scenic character, and recreational uses,” Corps_51603, and
          incorporated the voluminous submissions from that proceeding and MDEP’s order into its
          record, Corps_59078 at 59120.
          ****
          DOE provided an opportunity for public involvement upon receipt of the application for
          the Project. [DOE] 61308-09. Further, its role was discussed in both of the Corps’ public
          notices, and DOE attended the December 5, 2019 public hearing. Id. During its process,

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draft EAs or permitting decisions for public comment or feedback prior to their issuance.

In Energy’s case, the failure to circulate the decision for public comment contradicted

representations about how Energy intended to proceed. Also, although earlier in the review

process the agencies considered producing a joint NEPA environmental assessment or

impact statement, the Corps ultimately delivered its EA without assistance from Energy.

Energy then produced its own, separate EA that incorporated much of the Corps’ EA by

reference. As well, both federal agencies incorporated into their decisions much of the

environmental analyses offered by the state agencies. Desirous of maximal participation

and believing that federal law calls for a joint NEPA environmental impact statement (EIS)

under the circumstances, Plaintiffs cry foul.

       Plaintiffs filed their original complaint, a motion for preliminary injunction, and a

first motion to amend the complaint in November and December of 2020 (ECF Nos. 1, 18,

40). By Order of December 16, 2020 (ECF No. 42), I denied preliminary injunctive relief.

The First Circuit affirmed that Order in Sierra Club v. United States Army Corps of


       DOE reviewed public comments provided during proceedings before all relevant state
       agencies, including MDEP and MPUC. Id. at 61309.

Intervenor-Defs’ Opp’n and Cross Mot. at 3 (ECF No. 181).

From Defendants:

       Both agencies conducted environmental reviews, relying extensively on the State agencies’
       findings. USACE_AR_59078-240; DOE_AR_61293-490. Energy sought motions to
       intervene in its Presidential Permit process. 82 Fed. Reg. 45013 (Sept. 27, 2017);
       DOE_AR_61308. The Corps similarly issued a public notice soliciting comments.
       USACE_AR_20198. At the request of Plaintiff Sierra Club of Maine, the Corps later held
       a public hearing and continued to review comments for an extended window.
       USACE_AR_39239, 40613. The Corps additionally participated in public hearings before
       DEP. USACE_AR_59120, 27313; see also, e.g., USACE_AR_27326, 27865. Federal
       Defendants reviewed hundreds of comments and many hours of testimony.
       USACE_AR_59120; DOE_AR_61308-09.

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Engineers, 997 F.3d 395, 399 (1st Cir. 2021). While the appeal was pending, Plaintiffs

further amended the complaint to add Energy as a defendant following Energy’s issuance

of the presidential permit (ECF Nos. 69, 70, 75), and Intervenor-Defendants intervened in

the action (ECF Nos. 62, 68). The operative complaint is now Plaintiffs’ Second Amended

Complaint (ECF No. 75).

                                       DISCUSSION

       The questions presented for summary judgment require the application of legal

standards found in the CWA, NEPA, and CEQ’s NEPA regulations. Because the APA’s

deferential standard of review overlies my consideration of these questions, the following

discussion walks through the CWA and NEPA disputes with the deferential standard of

review in mind.

A.     Clean Water Act

       Plaintiffs contend that the Corps’ CWA permit decision is flawed because it (1) does

not fairly discuss the availability of practicable alternatives to the proposed path of the

Project corridor inside the Western Maine Mountain region and (2) makes a public interest

determination that is contradicted by the record. Pls.’ Mot. at 7-21.

       1.     Corps’ Alternatives Discussion

       The CWA provides that the Corps “may issue permits, after notice and opportunity

for public hearings for the discharge of dredged or fill material into the navigable waters

at specified disposal sites.” 33 U.S.C. § 1344(a). As a component of its review of proposed

discharges, the Corps is directed by applicable Guidelines to “[e]xamine practicable

alternatives to the proposed discharge, that is, not discharging into the waters of the U.S.

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 or discharging into an alternative aquatic site with potentially less damaging

 consequences.” 40 C.F.R. § 230.5(c) (cross-referencing id. § 230.10). In general, this

 means that “no discharge of dredged or fill material shall be permitted if there is a

 practicable alternative to the proposed discharge which would have less adverse impact on

 the aquatic ecosystem, so long as the alternative does not have other significant adverse

 environmental consequences.” Id. § 230.10. By way of definition:

        An alternative is practicable if it is available and capable of being done after
        taking into consideration cost, existing technology, and logistics in light of
        overall project purposes. If it is otherwise a practicable alternative, an area
        not presently owned by the applicant which could reasonably be obtained,
        utilized, expanded or managed in order to fulfill the basic purpose of the
        proposed activity may be considered.

 Id. § 230.10(a)(2). However, “[a]lthough all requirements in § 230.10 must be met, the

 compliance evaluation procedures will vary to reflect the seriousness of the potential for

 adverse impacts on the aquatic ecosystems posed by specific dredged or fill material

 discharge activities.” Id. § 230.10.

        Plaintiffs argue that the Corps’ alternatives discussion (a) fails to properly assess

 what is practicable in terms of alternative approaches and (b) cherry picks impacts without

 considering holistic impacts on aquatic ecosystems. Pls.’ Mot. at 7-11. Federal Defendants

 say they considered multiple alternatives and reasonably rejected them based on a myriad

 of factors. For its part, Intervenor-Defendant contends Plaintiffs’ arguments misconstrue

 both the Corps’ regulations and its application thereof, and that no alternatives were

 practicable given the goal of the Project and the screening criteria used in evaluating

 alternatives.


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                a. Practicable alternatives

        Plaintiffs argue the Corps skewed its alternatives analysis toward CMP’s preferred

 alternative by using improper definitions of “available” and “capable of being done” to

 deem otherwise practicable alternatives impracticable. Plaintiffs contend that alternatives

 were incorrectly deemed unavailable simply because CMP would have had to purchase

 new parcels and the Corps’ alternatives analysis therefore favored CMP’s proposed project

 from the get-go. Specifically, Plaintiffs point to the Corps’ rejection of alternatives using

 existing private logging roads and Alternative Route 2 as arbitrary and capricious because

 the Corps put too much weight on the alternatives’ availability. Plaintiffs further argue the

 Corps arbitrarily and capriciously dismissed Alternative Route 2 and underground

 alternatives as not capable of being performed solely because they were too expensive to

 CMP.

        The Corps determined:

                The overall purpose [of the NECEC is] to construct and operate an
        electrical transmission line and related facilities capable of delivering up to
        1,200 megawatts of electrical power from hydroelectric sources in Quebec
        to the New England Control Area, specifically in response to a Request for
        Proposals for Long-Term Contracts for Clean Energy Projects from the State
        of Massachusetts.

 Corps_59119. 3 Plaintiffs do not dispute that determination.               In considering off-site

 alternatives, such as Alterative Route 2, the Corps favored routes that (1) avoided

 conserved lands, (2) avoided undeveloped rights of way, (3) minimized tree clearing, (4)

 3
  The Corps’ alternatives analysis is found within its NEPA Environmental Assessment. Corps_59136-77;
 see also 40 C.F.R. § 230.10(a)(4) (“For actions subject to NEPA, where the Corps of Engineers is the
 permitting agency, the analysis of alternatives required for NEPA environmental documents . . . will in
 most cases provide the information for the evaluation of alternatives under these Guidelines.”).

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 minimized stream crossings, (5) minimized total transmission line length, (6) minimized

 crossings of mapped wetlands and water bodies, (7) minimized intersections with deer

 wintering areas, (8) minimized intersections with inland waterfowl and wading bird habitat,

 (9) minimized crossing of public water supplies, (10) minimized crossings of significant

 sand and gravel aquifers, and (11) had “the highest likelihood of successful land rights

 acquisition and utilized the number of parcels for which [CMP] would need title.”

 Corps_59137-38. After review of the record, I cannot say that the Corps impermissibly

 favored this eleventh factor over the other ten so as to skew its analysis.

        The Corps did note “CMP’s projected inability to obtain an easement to cross the

 [Appalachian Trail (“AT”)] brings into question the overall availability of this alternative,”

 however, the Corps also concluded that even if practicable Alternate Route 2 was not less

 environmentally damaging than the preferred alternative. The record before the Corps

 supports this determination as reasonable. When compared to CMP’s preferred alternative,

 Alternative Route 2 crosses more conserved lands, streams, and wetlands with a negligible

 to minor increased environmental impact when compared to the preferred alternative,

 Corps_463-64, 59145-46; crosses the same number of deer wintering areas and waterfowl

 and wading bird habitats with a decreased impact area, Corps_59145-46; requires less

 clearing and development of undeveloped right of way, id.; and requires CMP to obtain

 more parcels (included rights across the Penobscot Indian Nation, the Bigelow Preserve,

 and the Appalachian Trail corridor). Altogether, the record does not indicate the Corps’

 impermissibly favored CMP’s preferred alternative or put too much weight on Alternative

 Route 2’s availability. Likewise, the information before the Corps indicates Alternative

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 Route 2 and the preferred alternative are quite similar with respect to environmental impact

 to WOTUS. Therefore, I cannot find the Corps acted arbitrarily and capriciously in ruling

 out Alternative Route 2 on the basis that it was not less environmentally damaging than the

 preferred alternative.

        The record also reveals that the Corps rejected logging road alternatives not because

 of a skewed analysis but because they were unavailable or impracticable. Plaintiffs’

 challenge focuses on Spencer Road, the only logging road the Corps deemed practicable.

 Corps_59157. In 2014, the then-owner of Spencer Road rejected the idea of any

 transmission line on its land. Corps_36155_0217-18. By 2016, Spencer Road was

 acquired by Weyerhauser Company, with whom CMP had prior dealings to acquire its

 preferred alternative.   Id. In 2019, CMP inquired about buying Spencer Road and

 Weyerhauser responded that CMP would have to follow the same three-year process it had

 to acquire the existing corridor. Id. The Corps then concluded that Spencer Road was

 impracticable because the “logistics and time required to acquire the land would result in

 the [Project] not moving forward.” Corps_59158. Plaintiffs argue this reasoning is

 arbitrary and capricious as Spencer Road was “available” from 2016 onward. All parties

 cite the “market entry” approach analyzed in Bersani v. Environmental Protection Agency,

 where availability is assessed at the time the permit applicant enters the market to search

 for a site. 850 F.2d 36, 44 (2d Cir. 1988). Plaintiffs contend this means Spencer Road was

 available when Massachusetts sent out a request for proposals. Defendants instead argue

 this means Spencer Road was unavailable in 2014, when CMP began acquiring land for a

 transmission corridor.

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         The applicable regulations and policy better support Defendants’ argument. The

 Bersani Court used, and I adopt, an interpretation of the regulations which noted 40 C.F.R.

 § 230.10(a)(2) was silent with respect to timing 4 and the objectives and policy of the CWA

 supported the market entry approach to timing. Bersani, 850 F.2d at 44. The Second

 Circuit noted:

         If the practicable alternatives analysis were applied to the time of the
         application for a permit, the developer would have little incentive to search
         for alternatives, especially if it were confident that alternatives soon would
         disappear. Conversely, in a case in which alternatives were not available at
         the time the developer made its selection, but became available by the time
         of application, the developer’s application would be denied even though it
         could not have explored the alternative site at the time of its decision.

 Id. Spencer Road closely fits this latter case. Developers purchase sites before requests

 for proposals or permitting applications are received. To read the CWA as requiring that

 alternatives be available at those times would mean there is little to no incentive to explore

 alternatives for a particular project that begins post-purchase. It would also run afoul of

 applicable regulations that apply to alternatives not owned by the applicant. Those

 regulations specify such an alternative may be considered if it “could reasonably be

 obtained, utilized, expanded or managed in order to fulfill the basic purpose of the proposed

 activity.” 40 C.F.R. § 230.10(a)(2). The Corps was permitted to, and did, consider whether

 that alternative was obtainable in light of the increased time to finish the Project.



 4
   Although the regulation uses the present tense language “an alternative is practicable if it is available,” 40
 C.F.R. § 230.10(a)(2) (emphasis added), a common-sense approach suggests that writing the regulation in
 present tense should not convey a special timing condition, particularly where the regulation does not say
 when to analyze if an alternative is available. See Bersani, 850 F.2d at 43 (“[T]he ‘present’ of the
 regulations might be the time the application is submitted; the time it is reviewed; or any number of other
 times.”).

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 Corps_59158. The Corps’ conclusion that Spencer Road was unavailable is reasonable

 and supported by the underlying record.

        Plaintiffs also argue that the Corps impermissibly ruled out undergrounding

 alternatives and Alternative Route 2 due to their high cost. Having already determined the

 Corps reasonably rejected Alternative Route 2 as not less environmentally damaging, 5 I

 focus only on the undergrounding alternatives. The applicable regulations explicitly task

 the Corps with considering cost in assessing practicability, though they offer no equations

 or methodology. 40 C.F.R. § 230.10(a)(2). Federal Guidelines do provide that analysis

 should “consider those alternatives which are reasonable in terms of the overall scope/cost

 of the proposed project.” Guidelines for Specification of Disposal Sites for Dredged or

 Fill Material, 45 Fed. Reg. 85336, 85339 (Dec. 24, 1980).

        The Corps’ environmental assessment included cost estimates of multiple

 underground alternatives in comparison to the current project cost of $950 million.

 Corps_59154. It estimated $1.9 billion to install the entire transmission line underground

 and $2.6 billion in total construction costs. Id. If only the transmission line in Segment 1

 was installed underground the estimated cost would be $750 million and $1.6 billion in

 total construction.     Id.   An alternate underground route co-located with an existing

 transmission line would cost approximately $2.8 billion total. Id. The Corps concluded,

 “[i]n each scenario, the underground alternative is not practicable due to cost, relative to

 the overall cost of the Project.” Id. The Corps’ cost estimates are supported by the record.


 5
   “[T]he purpose [of 404(b)(1) permitting guidelines] is to create an incentive for developers to avoid
 choosing wetlands when they could choose an alternative upland site.” Bersani, 850 F.2d at 44.

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 Witnesses for and against the Project agreed that undergrounding was more expensive. See

 Corps_20002.      Testimony and a peer-reviewed study repeated that underground

 transmission lines are more expensive than overhead lines. See id. (citing Robert Benato

 & Domenico Napolitano, Overall Cost Comparison Between Cable And Overhead Lines

 Including The Costs For Repair After Random Failures, ELECTRA, Dec. 2012, at 9.). CMP,

 via engineering consultants, provided itemized, detailed estimates of underground

 alternatives. Corps_20029-45.

        Plaintiffs do not dispute these cost estimates. Instead, Plaintiffs argue that the

 Corps’ cost inquiry was superficial and conclusory without any underlying analysis. There

 is much analysis and opining on undergrounding costs in the record before the Corps, and

 it is apparent that the Corps adopted those estimates in its environmental assessment. I do

 not find it irrational that the Corps found those alternatives too costly. The cheapest option,

 undergrounding only Segment 1, was still 67% more expensive than the total cost of the

 preferred alternative. Corps_19982. I do not find that the Corps’ conclusion that this

 increased cost renders the project impracticable arbitrary and capricious. Nor do I find that

 the Corps failed to consider the cost of undergrounding relative to the cost of the whole

 project. After laying out the costs of undergrounding alternatives, the Corps stated “[t]hese

 costs are approximately three times more costly than the preferred alternative. In each

 scenario, the underground alternative is not practicable due to cost, relative to the overall

 cost of the Project as proposed and contractually agreed to through the Massachusetts RFP

 solicitation.” Corp_59150. The Corps’ brevity does not show that it merely stated its cost

 was too high without sufficient analysis. The record contains in-depth cost analysis. The

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 Corps adopted that analysis, and its conclusion that it would be impracticable to increase

 the project cost by, at least, 67% is not unreasonable.

        In any event, the record indicates that the Corps considered more than just cost.

 While the Corps did conclude “the underground alternative is not practicable due to cost,”

 Corps_59150, the Corps also assessed the environmental impacts of undergrounding and

 concluded installing an underground transmission line “would add significant risk to the

 hydrology of wetlands and waterbodies along and adjacent to the project route,” and that

 CMP “sufficiently demonstrated that [an underground] alternative is not environmentally

 less damaging than the preferred alternative.” Id. at 59151-54. Indeed, after arguing “the

 Corps simply stated that some alternatives were simply too expensive,” Pl.’s Mot. at 10,

 Plaintiffs go on to argue that the Corps’ environmental analysis of those same alternatives

 was deficient.    While I have found the Corps’ costs considerations appropriate, I

 nonetheless turn to the Plaintiffs’ cherry-picking arguments in the interest of completeness.

        b.     Holism

        Plaintiffs argue that the Corps “cherry-picked” environmental impacts instead of

 considering them holistically when evaluating alternatives. Plaintiffs focus on the Corps’

 rejection of underground and on-alignment shift alternatives. Id. at 59148-54, 59171.

 Plaintiffs contend that the Corps instead introduced a new screening criteria of

 sedimentation impacts while ignoring criteria favorable to the alternatives. Plaintiffs

 further argue that the Corps took a quality-over-quantity approach to its analysis,

 improperly focusing on acreage impacted instead of the impact to the aquatic ecosystem.

        On the environmental impacts of undergrounding, the Corps’ EA concluded:

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       [T]he surface disruption caused by trenched underground transmission line
       construction is continuous along its length rather than intermittent and widely
       spaced at each overhead structure installation location. In areas of uneven or
       side-sloping terrain, grading and significant cuts and fills would need to
       occur to provide a safe travel surface for equipment and personnel during
       construction, operation, and maintenance. The additional surface disruption
       would require additional control measures for soil erosion, sedimentation,
       and dust generation during construction, and poses a risk that those control
       measures could be damaged during an extreme weather event. Further,
       underground installations involving trench excavation entail significantly
       more trench de-watering than individual transmission structure excavations,
       resulting in an increased risk of sedimentation in wetlands and waterbodies.

                                            ***

       The inspection, maintenance and repair requirements for underground
       transmission lines requires access to every jointing location along the route.
       This requires permanent access roads to be maintained to each jointing
       location. For overhead lines, permanent access roads to each structure are not
       required. As a result, the extent of permanent wetland fill to construct the
       Project in an underground configuration would be significantly higher than
       an overhead design. In addition, for an underground design, permanent
       stream crossings would need to be constructed and maintained.

 Corps_59151-52.

       The record contains extensive testimony on underground alternatives. Testimony

 on behalf of Plaintiff AMC during state proceedings proposed underground transmission

 lines along existing corridors such as Spencer Road or Route 201. Corps_17671-72. It

 noted such an alternative would “eliminate or greatly reduce the fragmentation impacts,

 resulting in much less clearing,” and “[t]here would be wetland and stream impacts, but

 these resources are already impacted by the road, and burying the line next to the road

 results in limited and marginal additional impacts, as opposed to the greater impacts to

 relatively intact streams and wetlands located within the new corridor.” Corps_17672.

 Rebuttal testimony discussed the availability, costs, and environmental impact of

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 underground alternatives.     See, e.g., Corps_20004-05.        That testimony stated that

 undergrounding would require a clearing width of 75 feet as opposed to 150 feet for

 overhead lines. Corps_20004. It also discussed the different impacts from underground

 transmission lines, namely continuous surface disruption along the line that brings about

 erosion, sedimentation, and dust generation during construction as well as the requirement

 of permanent access roads for maintenance and repair, which also increases the impact to

 wetlands. Id.

        The record indicates that these “cherry-picked” impacts were impacts particularly

 salient when discussing undergrounding alternatives. The Corps, tasked with considering

 the environmental impacts of alternatives, considered specific impacts, such as

 sedimentation, in an appropriate context. Plaintiffs’ argument that the Corps cherry-picked

 certain impacts seems closer to an argument that the Corps gave weight to testimony from

 CMP witnesses. An agency is afforded great latitude in assessing the credibility and

 importance of evidence. It was not arbitrary and capricious for the Corps to focus on

 impacts that were discussed at length in the record. Nor do I find it arbitrary and capricious

 for the Corps to conclude the underground alternatives are not less environmentally

 damaging based on the evidence in the record.

        The story is much the same for on alignment shift alternatives. These alternatives

 involve shifting the location of the transmission line within the proposed corridor or zig-

 zagging throughout the corridor to avoid WOTUS. Plaintiffs argue these alternatives were

 rejected based on the quantity of acreage impacted and not the specific impact to wetlands.

 Plaintiffs add the Corps failed to consider alternatives that reduced impact to brook trout,

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 such as minor alignment shifts or increase pole height to keep overhead canopy coverage.

 With respect to zig-zagging, the Corps concluded,

         Zig-zagging through the 300-foot-wide corridor would require at least three
         additional angle structures for each jog in the corridor, which would increase
         soil disturbance through larger site development and temporary impact areas,
         increasing the threat of erosion and sedimentation and the potential to
         directly impact protected natural resources. Also, zig-zagging throughout the
         corridor may not achieve the overall goal of avoidance and then
         minimization, since it may simply shift the impacts to other protected natural
         resource areas.

 Corps_59171. Again, this assessment adopts evidence in the record. I do not find it

 arbitrary and capricious for the Corps to consider impacts specific to this alternative nor to

 reject this alternative based on those impacts. When assessing shifting the alignment north,

 as opposed to the preferred alternative (south), it is true the Corps’ environmental

 assessment lists impacts by acreage. See id. But this does not ring of improperly focusing

 on acreage. Plaintiffs urge that the Corps prioritized quantitative values presumably

 because it ultimately found the north alignment practicable. But the CWA does not

 mandate particular outcomes, and my review of the Corps’ permitting decision is limited

 to whether that decision was rational. The Corps concluded, “direct impacts to waters of

 the U.S. for both alignments were similar but that secondary impacts, i.e., temporary fill

 and forested wetland conversion, were substantially greater on the northern alignment.”

 Id.   The Corps breakdown of wetland impacts is granular and evidences that they

 considered impacts on both a qualitative and quantitative level. 6 The comparison between


 6
  For instance, in listing the acreage of environmental impact the Corps distinguished between forested
 wetlands, wetlands of special significance, inland waterfowl and wading bird habitat, and significant vernal
 pools. See Corps_59171.

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 the north and south alignments is not so outcome-determinative as to remove the Corps’

 decision from the realm of rational decision-making.

        With respect to alternatives proposed to limit the impact on brook trout, the record

 shows CMP’s own proposal includes leaving trees at specific crossings to keep full shade

 and minimize such impacts, as suggested for other alternatives. Corps_36155_44. The

 Corps deemed other aerial crossings to have no impact on WOTUS or the least

 environmental impact. See Corps_59083, 59166. Plaintiffs are correct to state the Corps

 cannot simply cite to state proceedings to demonstrate that they considered alternatives;

 however, the Corps is entitled to incorporate state-level testimony and evidence into its

 conclusions. Before the Corps was the suggestion to shift the project to avoid crossings

 near brook trout. At the state level, testimony refuted those suggestions as either

 unavailable or demonstrated the proposed crossings had little-to-no impact. See

 Corps_19766-19767. The Corps reiterated this in its analysis, evidently giving weight to

 that evidence. The Corps’ EA does not reveal indifference or ignorance to shifting

 alternatives but rather a reasonable rejection.

        2.     The Corps’ Public Interest Discussion

        The Corps’ review of a permit application under the CWA requires consideration of

 how the proposed activity will impact the public interest. 33 C.F.R. § 320.4(a). This is a

 wide-ranging inquiry that exists separate and apart from the NEPA procedural overlay

 associated with the production of environmental assessments and impact statements. In

 other words, the CWA’s public-interest-review requirement is not exclusively a concern

 for environmental impacts and allows the Corps to weigh a number of values important to

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 the public. One implication of the public interest review is that a permitting decision may

 be of considerable length and incorporate related assessments made by state regulators, but

 for NEPA purposes may contain a finding of no significant impact concerning the

 environmental impacts of the proposed discharge into waters of the United States. This

 breadth of the public-interest-review requirement is best understood by a review of the

 regulation, the initial component of which I quote at length:

        The decision whether to issue a permit will be based on an evaluation of the
        probable impacts, including cumulative impacts, of the proposed activity and
        its intended use on the public interest. Evaluation of the probable impact
        which the proposed activity may have on the public interest requires a careful
        weighing of all those factors which become relevant in each particular case.
        The benefits which reasonably may be expected to accrue from the proposal
        must be balanced against its reasonably foreseeable detriments. The decision
        whether to authorize a proposal, and if so, the conditions under which it will
        be allowed to occur, are therefore determined by the outcome of this general
        balancing process. That decision should reflect the national concern for both
        protection and utilization of important resources. All factors which may be
        relevant to the proposal must be considered including the cumulative effects
        thereof: among those are conservation, economics, aesthetics, general
        environmental concerns, wetlands, historic properties, fish and wildlife
        values, flood hazards, floodplain values, land use, navigation, shore erosion
        and accretion, recreation, water supply and conservation, water quality,
        energy needs, safety, food and fiber production, mineral needs,
        considerations of property ownership and, in general, the needs and welfare
        of the people. For activities involving 404 discharges, a permit will be denied
        if the discharge that would be authorized by such permit would not comply
        with the Environmental Protection Agency’s 404(b)(1) guidelines. Subject
        to the preceding sentence and any other applicable guidelines and criteria
        (see §§ 320.2 and 320.3), a permit will be granted unless the district engineer
        determines that it would be contrary to the public interest.
 33 C.F.R. § 320.4(a). The regulation continues with additional policy language on a

 number of specific concerns, including but not limited to wetland resources; fish and



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 wildlife; historic, cultural, scenic, and recreational values; conditions or requirements

 imposed on the project by other regulatory authorities, federal or state; environmental

 benefits; economics; and mitigation measures. Id. § 320.4(b), (c), (e), and (j), (p), (q), and

 (r).

        Concerning requirements imposed by, for example, state regulatory authorities, the

 regulation explains that state, local, and tribal governments have “primary responsibility

 for determining zoning and land use matters,” and that the Corps may “accept decisions by

 such governments on those matters unless there are significant issues of overriding national

 importance.” Id. § 320.4(j)(2). “In the absence of overriding national factors of the public

 interest that may be revealed during the evaluation of the permit application, a permit will

 generally be issued following receipt of a favorable state determination provided the

 concerns, policies, goals, and requirements as expressed in 33 CFR parts 320-324, and the

 applicable statutes have been considered and followed . . . .” Id. § 320.4(j)(4). The list of

 relevant statutes includes, of course, NEPA, discussed in Part B of this discussion. Id. But

 for present purposes, Plaintiffs argue the Corps’ public interest discussion was arbitrary

 and capricious because (a) it is “skewed” in favor the project, (b) makes unwarranted

 assumptions about the greenhouse gas implications of the Project, (c) misses the mark on

 recreational impacts, and (d) unreasonably relies on mitigation measures to conclude that

 the Project does not harm the public.

               a. Skewed analysis

        Plaintiffs attack the Corps’ CWA public interest review as including an improperly

 skewed economic analysis. Plaintiffs insist the Corps first improperly put a thumb on the

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 scale by offering CMP the opportunity to collaborate on the environmental assessment to

 highlight the projects benefits. But such an opportunity is expressly allowed under the

 regulations: “If the district engineer determines, based on comments received, that he must

 have the views of the applicant on a particular issue to make a public interest determination,

 the applicant will be given the opportunity to furnish his views on such issue to the district

 engineer.” 33 C.F.R. § 325.2(a)(3). Plaintiffs do not attack the district engineer’s

 determination that he must have the views of CMP as arbitrary and capricious, so my

 consideration of this argument ends here.

        Beyond that, Plaintiffs contend the Corps’ review of economic benefits must be

 limited to those that are tethered to the physical dredge and fill activity permitted. Plaintiffs

 thus bemoan the Corps’ consideration of specific economic benefits as lacking a nexus to

 the project’s physical impact:

            15M for fiber optic and broadband expansion (5 yrs.)
            10.5M for economic development and promotion of regional tourism (10
            yrs.)
            $6M for education funding . . .
            $3M in benefits to the Passamaquoddy Tribe (40 yrs.) . . .
            $15M for electric vehicle infrastructure (5 yrs.)
            $15M for heat pump support (8 yrs.)
            $2.5M for decarbonization & Maine energy resource planning studies

 Corps_59189. CMP argues Plaintiffs misconstrue these benefits as too attenuated from the

 Project when they directly result from a stipulation to obtain MPUC approval and would

 not occur without project construction. Alternatively, CMP argues that if $67 million in

 economic benefits was indeed off the table any consideration the Corps gave them was a

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 harmless error because the Corps also rightfully considered nearly $1.5 billion in economic

 benefits directly tethered to the Project such as the increase in Maine’s gross domestic

 product, worker compensation, lower electricity cost, and tax revenues.              Federal

 Defendants add that an applicable regulation explicitly allows consideration of broader

 economic impacts such as “employment, tax revenues, community cohesion, community

 services, and property values.” 33 C.F.R. § 320.4(q).

        The CWA and applicable regulations do not lay out hard limits on the scope of the

 economic analysis for a public interest review. It might be reasoned that the Corps’

 economic analysis under the CWA must be tethered to effects that result from the physical

 changes to WOTUS, see Mall Properties., Inc. v. Marsh, 672 F. Supp. 561, 565-71 (D.

 Mass. 1987) (so reasoning), but an overly restrictive view in this regard might exalt form

 over substance and be hyper-technical, depending on the project. After all, the regulation

 does speak of “economics” and the “needs and welfare of the people.” 33 C.F.R. §

 320.4(a). Defendants argue the Mall Properties line of thinking is inapplicable here

 because it predates 33 C.F.R. § 320.4(q). That portion of the regulation, which is

 specifically addressed to economics, reads:

       When private enterprise makes application for a permit, it will generally be
       assumed that appropriate economic evaluations have been completed, the
       proposal is economically viable, and is needed in the market place. However,
       the district engineer in appropriate cases, may make an independent review
       of the need for the project from the perspective of the overall public interest.
       The economic benefits of many projects are important to the local
       community and contribute to needed improvements in the local economic
       base, affecting such factors as employment, tax revenues, community
       cohesion, community services, and property values. Many projects also
       contribute to the National Economic Development (NED), (i.e., the increase
       in the net value of the national output of goods and services).

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 33 C.F.R. § 320.4(q).

         A plain reading of § 320.4(a) and (q), minimally, gives the Corps leeway to exercise

 discretion when it comes to assessing the likely economic outcomes of projects. Discretion

 can be reasonably exercised or abused, depending on the situation. In my own view, the

 economic factor rather clearly allows the Corps discretion to assess whether and even the

 extent to which proposed disruptions to WOTUS will bear economic fruit from a cost-

 benefits perspective by referencing the anticipated benefits of the finished project. With a

 project that creates a green energy corridor through a remote region, having limited

 economic development, the economic benefits may well be varied and far-reaching at the

 local level (the list of objected-to items involve anticipated local impacts). I do not find

 the Corps’ contemplation of these benefits to be irrational, and in any event there is a

 veritable bounty of economic benefits on the scale, even if Plaintiffs’ flyspeck argument

 has more legal merit than just expressing a difference of opinion. 7




 7
   Plaintiffs assert that “over a third of the alleged economic benefits the Corps considered were improper.”
 Pls. Mot. at 14. However, my review cannot be limited to the quantity of economic impacts considered but
 must also consider the quality of each impact. The benefits that Plaintiffs challenge amount to $67 million.
 Other permissible benefits, such as lower electricity costs, increases to Maine’s gross domestic product,
 worker compensation, and tax revenue, amount to $1.4 to $1.5 billion. Corps_59189. The Corps rationally
 concluded that the economic public interest factor favored the grant of the needed permits. Id. And even
 if some impermissible economic factors were considered, it would not automatically make the Corps’
 decision arbitrary and capricious. “While agency decisions must be sustained, if at all, on their own
 reasoning, . . . this principle does not mechanically compel reversal when a mistake of the administrative
 body is one that clearly had no bearing on the procedure used or the substance of decision reached.” Kurzon
 v. U.S. Postal Serv., 539 F.2d 788 (1st Cir. 1976) (internal quotation marks omitted). I would conclude that
 the Corps’ decision was rational insofar as the $67 million line items are concerned, even if Plaintiffs had
 convinced me that those items were too attenuated to deserve mention. Ultimately, the weight of the
 economic analysis favors rather than detracts from the project.

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        On another tack, Plaintiffs argue that any rightfully considered benefits are

 outweighed by detriments that the Corps failed to consider. In Plaintiffs view, the Corps

 wholly ignored these detriments while touting other benefits. Plaintiffs also malign the

 Corps use of the state agency public interest analysis. Both the Maine Public Utilities

 Commission and Maine Department of Environmental Protection performed public interest

 analyses; however, these agencies used different standards and considered factors outside

 the Corps’ purview. Plaintiffs urge that the Corps public interest review cannot use these

 state agency findings to support its own public interest review and, on the record before

 the Corps, its finding that the Project is in the public’s interest is unreasonable. Plaintiffs

 point to portions of the record suggesting that the tourism and guiding industries will be

 negatively impacted by the Project.

        Plaintiffs’ argument fails because when weighed against the permissible benefits

 the Corps considered, adverse impacts to recreation do not make the Project’s overall

 economic impact contrary to the public interest. At the state level, MPUC found that there

 was some unquantifiable adverse impact to scenery, tourism, and recreation, but

 nonetheless concluded that the Project, overall, had a net economic benefit. Corps_24458.

 Likewise, MDEP found that the project “will not adversely affect existing uses that are

 related to the scenic character,” based on photo simulations and survey data. Corps_51658.

 Plaintiffs are correct that MDEP was not evaluating the Project’s economic impact and that

 the Corps’ standard was not the state agency’s standard of “unreasonable adverse impact.”

 Corps_51660. But it is not irrational for the Corps, in its independent analysis, to find that



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 the economic impact on tourism would be minimal based on the state agency findings. As

 the Corps put it:

        Concerns that tourism will be adversely affected by the project are
        speculative. Once constructed, the NECEC project and all of its components
        are operationally benign, meaning there is little active human activity and no
        ongoing disturbance. As has been noted. Segment 1 in particular is a
        destination for hunters, fishermen, boaters/rafters, snowmobile and ATV
        users, hikers, and outdoor naturalists. Most of this recreation occurs on
        private timberlands under broad agreements with the landowners. Assuming
        landowner permission continues, none of these uses will be restricted. The
        [underground] crossing of the Kennebec River Gorge eliminates any visual
        impact and the general outdoor experience for rafters and other users of the
        river. Hikers along the Appalachian Trail (AT) and other local trails will
        continue to have full access, albeit with some new exposure to the
        transmission line, at least partially mitigated by actions proposed to minimize
        visual effects from higher vantage points and at the existing AT crossings at
        Moxie Pond. Pursuant to the Section 106 Memorandum of Agreement, the
        National Park Service and several key trail conservancies support the
        improvements at the Moxie Pond location. Hunting and fishing opportunities
        continue to abound in the region and the applicant has minimized the
        potential for short-term and long-term impacts to wildlife and fisheries.
        Existing levels of ATV use and trail networks are expected to remain
        unchanged and snowmobile opportunities may actually be improved.

 Corps_59126-27. This economic analysis drew largely the same conclusion on largely the

 same facts as state agencies: detraction to scenery-based activity is minimal therefore

 adverse economic effects to scenery-based activity will be minimal. The conclusion is

 within the zone of reasonableness.

               b. Greenhouse gas

        Plaintiffs next argue the Corps was incorrect to determine the Project was in the

 public’s interest because of its anticipated positive impact on greenhouse gas (“GHG”)

 emissions. Plaintiffs attack both the scope of the Corps’ review and the sufficiency of its

 findings. First, Plaintiffs contend that the Corps, in performing its CWA analysis, should

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 have refused to consider environmental impacts beyond that of dredge and fill activity as

 it did during its NEPA analysis. Plaintiffs further attack the Corps’ conclusion that GHG

 emissions will be reduced as unproven by the record.

        With respect to the scope, the Corps assessed the Project under both NEPA and the

 CWA. Each statute and its applicable regulations set the scope of each review.

 Unsurprisingly, those scopes are not the same, nor will one limit the other. In its CWA

 public interest review, the Corps must “evaluat[e] of the probable impacts, including

 cumulative impacts, of the proposed activity.” 33 C.F.R. § 320.4(a). When the permitted

 activity is installing a transmission line, impacts on energy use (and its resultant impact on

 GHG emissions) is not so far attenuated the Corps cannot consider it.

        As to the sufficiency of the Corps’ determination, the record contains extensive

 argument over GHG emission values. The conclusion that the Project will result in reduced

 GHG emissions requires, among other things, that Hydro-Quebec (“HQ”) be able to meet

 energy delivery thresholds. If it cannot, then GHG emissions may stay the same or increase

 as other HQ customers increase fossil fuel use or HQ builds more infrastructure. Going

 back to the state level, MPUC concluded:

        [T]he NECEC will result in significant incremental hydroelectric generation
        from existing and new resources in Quebec and, therefore, will result in
        reductions in overall GHG emissions . . . . In making this decision, the
        Commission recognizes the inherent uncertainty in determining how HQ
        Production will develop and operate hydroelectric facilities over the next 20
        years and beyond; thus the levels of incremental hydroelectric generation and
        GHG reductions resulting from the NECEC cannot be precisely determined.

 Corps_46606.     MDEP “accept[ed MPUC] findings on this issue and weigh[ed] the

 [Project’s] reductions in GHG emissions against the Project’s other impacts in its

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 reasonableness determination.” Corps_51707. Likewise, the Maine Law Court found that

 “the NECEC project will result in incremental hydroelectric generation [and] will reduce

 greenhouse gas emissions in the region.” NextEra Energy Res., 227 A.3d 1117, 1127 (Me.

 2020).

          In reaching its conclusion, MPUC relied, in part, on studies and testimony from

 Daymark Energy Advisors and London Economics International (“LEI”). Corps_46606.

 Plaintiffs paint these studies as flawed because they explicitly assumed HQ had sufficient

 energy to meet its contract requirements. Corps_42966. MPUC also considered HQ’s past

 spillage (water not converted to energy) numbers and the fact that CMP would rationally

 want to increase capacity and storage. Corps_46606-07. Plaintiffs argue that these

 assumptions are faulty because past spillage numbers may not make future numbers

 predictable and because in the state proceedings CMP represented that GHG emissions

 were irrelevant to MDEP’s decision.

          The parties go back and forth on multiple reports assessing HQ’s capabilities. After

 state proceedings had finished, NorthBridge Energy released a report, provided to the

 Corps, in which it concluded that HQ’s energy output requirements, including the Project,

 “will eventually create the need for the construction of new hydro facilities, with their

 associated environmental impacts.” Corps_45846. Plaintiffs also point to a report they

 had prepared by Energyzt Advisors, which disclaimed HQ’s ability to “service NECEC

 without diverting energy from other markets and engaging in greenwashing . . . .”

 Corps_46887. The Federal Defendants conducted their own peer review.                 Energy

 contractor ICF reviewed CMP’s climate change benefits analysis. In a preliminary report,

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 ICF noted the information before it was insufficient to perform a detailed assessment of

 HQ’s hydro capacity and energy production. Corps_42966. Energy subsequently sought

 more information from CMP, and ICF updated the report. The updated report noted that

 wide-range, complex modeling that simulates market operation by the hour would be able

 to provide “some confidence [HQ] would, or would not, be able to meet the contractual

 requirements of the NECEC.” Corp s_49510. None of the parties involved in the Project

 performed such modeling. Nonetheless, on the information it had ICF concluded:

        [I]t is likely that [HQ] can meet the energy delivery requirements for NECEC
        with its current and planned incremental supply and not need to divert clean
        energy from other areas that it would otherwise serve, and thereby increase
        fossil generation to serve these customers and increase greenhouse gas
        emission. Thus, we infer that the expected operation of NECEC will likely
        result in a reduction in GHG emissions in New England and neighboring
        markets.

 Corps_49513. ICF used some assumptions about HQ’s standard operating conditions in

 reaching this conclusion. Id. And ICF included a caveat that the information it had did not

 allow it “to state conclusively that [HQ] will have incremental capacity and energy from

 clean energy resources to meet the NECEC obligation in each hour of the 20-year contract

 period.” Id. Plaintiffs put much stock in this qualification. In Plaintiffs view, when

 coupled with the lack of modeling and a preliminary lack of sufficient information that

 qualification means “ICF’s guesstimates are explicitly riddled with assumptions,”

 rendering it improper for the Corps to use them in making a public interest determination.

 Pls.’ Combined Resp. and Reply (ECF. No. 185) at 13.

        This Court “must take into account contradictory evidence in the record.”

 Penobscot Air Services, Ltd. v. F.A.A., 164 F.3d 713, 718 (1st Cir. 1999). But “the

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 possibility of drawing two inconsistent conclusions from the evidence does not prevent an

 administrative agency’s finding from being supported by substantial evidence.”            Id.

 (quoting Am. Textile Mfrs. Inst., Inc. v. Donovan, 452 U.S. 490, 523 (1981)). All of the

 reports the parties cite contain some level of assumptions and qualifications, as is the case

 with most predictive studies. It is not within this Court’s’ purview nor expertise to

 determine if those assumptions and qualifications are reasonable for some studies while

 rendering others unreliable. For instance, Plaintiffs ignore that the Energyzt report is one

 of the studies included in ICF’s statement that “the information available in the provided

 studies is not sufficient . . . to perform a detailed assessment of hydro capacity and energy

 production capability.” Corps_42966. Yet they ask this Court to credit that report over

 the Daymark and LEI studies. It is true that if the evidence the Corps relies on is so

 lackluster that any conclusion drawn from it is inherently unreasonable its decision will not

 be entitled to deference. The studies here conflict, build on different assumptions, and

 impose various qualifications, but none is so markedly unfounded that the Corps was

 wrong to consider them. Likewise, if the Corps’ conclusion flies in the face of the data and

 experts it is arbitrary and capricious. But there is no consensus among the reports such that

 I could find that the Corps’ conclusion completely disregards the evidence. It is not this

 Court’s place to re-weigh that evidence. In this instance then, the standard of review is

 whether the Corps itself adequately weighed the evidence and did not act in a conclusory,

 unreflective manner. See Genuine Parts Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir. 2018).

        Did the Corps adequately consider conflicting evidence? The Corps stated:



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        The USACE has reviewed the large amount of detailed and often conflicting
        information submitted by both sides in this matter. The applicant has
        furnished additional information to include information from Hydro-Quebec.
        We have coordinated with DQE on this issue, and they in turn directed a peer
        review of all of the various analyses performed by an agency contractor with
        special expertise in this area. The independent review concluded that the
        expected operation of NECEC would likely result in a reduction in
        greenhouse gas (GHG) emissions, specifically carbon dioxide emissions, in
        New England and neighboring markets.

                                             *****

        It is reasonable to expect the project will result in an annual reduction in
        GHG emissions in New England. The claim that the NECEC will result in
        additional GHG emissions because Hydro-Quebec would have to reduce
        existing export levels to other markets in order to supply the NECEC and
        those other markets would then have to resort to burning dirtier fuels appears
        to be unfounded as there appears to be sufficient capacity for Hydro-Quebec
        to fulfill all of its obligations.

 Corps_59199-200. I do not find that this assessment or conclusion amounted to arbitrary

 and capricious behavior or that the conclusion lacks substantial evidentiary support. The

 Corps deferred to the MPUC and found the LEI and Daymark studies credible.

 Corps_59199. Notwithstanding the credibility finding, the Corps coordinated with Energy

 to conduct an independent review in part because Energy “identified gaps in the

 assumptions and analysis that limited their ability to fully vet the results of the studies and

 understand the drivers underpinning the stated reductions in GHG emissions.”

 Corps_43578. The ordered report specifically addresses some of Plaintiffs concerns. The

 Corps’ environmental assessment agrees with the ICF conclusion, but not at the expense

 of competing evidence. The Corps did not refute contrary studies line-by-line, but the

 record shows they rejected the conclusions in those studies based on ICF’s determination



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 that HQ could fulfill its contractual requirements. The foundational evidence for this

 rejection is not baseless and the rejection is not unreasonable.

               c. Recreation

        Plaintiffs claim the Corps’ decision that recreational impacts were negligible and/or

 beneficial is contrary to record evidence. Plaintiffs argue the Corps wholly deferred to

 state agency determinations without conducting its own analysis despite having a separate

 standard from those agencies and record evidence of detrimental effects to recreation.

        Looking at those state determinations, MPUC was tasked to “make specific findings

 with regard to the public need.” Corps_24428. Under Maine law, public need is equivalent

 to public interest, and MPUC interprets public as regionally limited to Maine. Id. (citing

 Enhanced Commc’n of N. New Eng., Inc. v. Pub. Utils. Comm’n, 169 A.3d 408, 413 n.4

 (Me. 2017)). MPUC found that the Project would have adverse effects on scenic and

 recreational values (and therefore, tourism and recreation), but those affects were balanced

 by the benefits of the Project. Corps_24417. MPUC also deferred to MDEP’s findings in

 these same areas. See Corps_24418, 77.

        MDEP considered testimony, public comment, and record evidence on recreational

 activity throughout the Project (primarily in segment one), and found:

        The project will not impose limitations on these activities. Outdoor
        recreationalists will be able to cross the corridor and access the same areas
        they have traditionally used.

                                            *****

        The proposed line will be co-located with this previously existing
        transmission line corridor and within a previously existing transmission line
        right-of-way where the AT and the project intersect. Hiking will not be

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        impeded here or at other hiking trails. With regard to fishing, the proposed
        line was routed to avoid some particularly sensitive fish spawning stream
        headwaters, and the line in some potentially affected sensitive fish spawning
        areas will be elevated to allow for the growth of taller vegetation within the
        corridor that will provide shade for fish habitat.

 Corps_51659-60. Based on those findings, MDEP concluded “the project will not have an

 unreasonable adverse impact on existing uses, including recreational or navigational uses.”

 Corps_51660. The Corps’ recreation determination repeats much of the same language.

 See Corps_59194.

        Plaintiffs’ feud again arises from the idea that the MDEP’s “unreasonable adverse

 impact standard” sets a lower bar than the Corps’ “within the public interest” standard.

 Plaintiffs cite to ample testimony that the Project would diminish recreational value to

 some portion of the public because there is always some unquantifiable loss when industry

 clashes with nature. I may agree that to many people seeking a wilderness getaway “[i]t

 will be impossible for this corridor/line not to be in-your-face and obtrusive.”

 Corps_18719. But that does not make the Corps’ conclusion arbitrary and capricious. The

 Corps can use a state’s determination as valid evidence in making its own determination.

 In this case, the Corps concluded that once construction ceases, recreational activities will

 not be impeded. Corps_59193. Although there was testimony about the eye-sore the

 transmission line may cause, the Corps also concluded that aesthetics were neutral based

 on MDEP’s assessment of photo-simulations. Corps_59190. These conclusions may be

 unpopular and unreasonable in the eyes of Mainers who enjoy nature in the area of the

 corridor. But based on the underlying record showing minimal visual impacts and no



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 impediment to recreational access, the Corps’ decision is one reasonable assessment of the

 situation.

                 d. Mitigation

         Lastly, Plaintiffs challenge the Corps’ decision that the Project’s effect on fish and

 wildlife would be neutral and/or mitigated. Central to Plaintiffs’ arguments are wild brook

 trout. See Corps_18411. At issue is not discharge, but the effect of the Project’s hundreds

 of water crossings on brook trout and their habitat. Clearing vegetation for the corridor

 can increase water temperature with caliginous consequences for the cold-water trout. To

 mitigate this, CMP proposed riparian buffers, initially at 25 feet, and later increased to 100

 feet:

         All streams identified as Atlantic salmon habitat will have a 100-foot riparian
         buffer and any non-capable [tree] species exceeding 10 feet will remain
         within the stream buffer outside the wire zone. Inside the wire zone all
         woody vegetation over 10 feet whether capable or non-capable will be cut to
         ground level. Within this 100-foot buffer any capable species will be
         removed by hand cutting, herbicides will not be used, and if the construction
         schedule allows, clearing will occur during frozen ground conditions to
         minimize soil disturbance.

 Corps_59093 8; see also Corps_59133 (“In streams supporting salmonids, including

 Atlantic Salmon and brook trout, riparian buffers will be expanded to 100’ to provide

 greater levels of protection”).

         A public comment of Plaintiff Natural Resources Council of Maine noted riparian

 buffers function optimally with a “high degree of canopy closure.” Corps_22880


 8
  Capable species are those plants having the capability to grow into the new transmission line. CMP also
 agreed to maintain full canopy cover and/or vegetation with a minimum height of 35 feet at specific wildlife
 areas. Corps_51687

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 (describing inverse relationship between effective buffer width and canopy coverage).

 Trout Unlimited witness, Jeff Reardon, voiced similar concerns at state proceedings that

 the clearing of capable vegetation would not leave sufficient cover. Corps_31470. MDEP

 nonetheless concluded CMP “has minimized impacts to waterbodies that serve as fisheries

 habitat to the greatest extent practicable, that the project will not unreasonably harm any

 aquatic habitat or fisheries provided the applicant [implements certain mitigation

 efforts].”). Corps_51688.

        The Corps’ oversight over the Project’s impact on brook trout was limited in its

 public interest review with respect to fish and wildlife values. The Corps argues it properly

 gave deference to MDEP’s determination that brook trout habitats will not be unreasonably

 harmed considering CMP’s mitigation efforts. Plaintiffs assail this deference and point to

 record testimony and comment refuting the effectiveness of CMP’s buffer, arguing the

 Corps failed to grapple with this evidence.

        The competing views as to the efficacy of the Project’s riparian buffers do not

 ultimately undermine the reasonableness of the Corps conclusion: for a public interest

 determination, the Project’s effect on brook trout habitat was neutral. Corps_59192. Given

 MDEP’s own conclusions, the Corps’ acceptance of the understanding that a 100-foot

 buffer that clears select vegetation will have neither a detrimental nor beneficial effect on

 brook trout habitat is not unreasonable or unsupported by substantial evidence.

 B.     National Environmental Policy Act

        Concerning Plaintiffs’ NEPA arguments, Defendants interpose a preliminary

 obstacle to judicial review of Energy’s EA, which is: (1) whether the APA allows for

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 judicial review of an administrative decision that implements the President’s authority over

 cross-border electrical connections. Defs.’ Opp’n and Cross-Motion at 6. To this threshold

 concern, Plaintiffs add additional NEPA issues: whether the Corps and Energy abused their

 discretion when applying NEPA by failing to prepare a combined EIS given (2) the

 combined significance of the two federal permits and the need to avoid improper

 segmentation that minimizes the scope or significance of their NEPA review; and (3) based

 on a variety of other factors that militate in favor of preparing one comprehensive EIS.

 Pls.’ Mot. at 21-33.

        1. APA and Presidential Permits

        The First Circuit has “expressly held that NEPA provides no right of action at

 all.” Town of Portsmouth, R.I. v. Lewis, 813 F.3d 54, 62 (1st Cir. 2016) (collecting

 authority). Plaintiff’s cause of action, if any, must come from the APA. The APA provides

 judicial review where a party suffers a “legal wrong because of agency action” or is

 “adversely aggrieved by agency action within the meaning of the relevant statute.” 5

 U.S.C. § 702. To be judicially reviewable the challenged agency decision must be a “final

 agency action.” 5 U.S.C. § 704. Agency action is final when it is the end of the agency’s

 decision-making process and the action determines the rights and obligations of the

 interested parties or subjects them to legal consequences. Bennett v. Spear, 520 U.S. 154,

 177-78 (1997). Under the APA, the President is not an agency, and Presidential actions

 are not subject to APA review. Franklin v. Massachusetts, 505 U.S. 788, 796 (1992).

        Energy argues that its issuance of a Presidential Permit pursuant to E.O. 10485 is

 an exercise of delegated presidential foreign power authority and therefore not subject to

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 suit under the APA. Energy also argues that Plaintiffs’ NEPA claim must fail because

 NEPA applies only to final agency action, not presidential action.

        Permitting requirements for building transmission lines across international borders

 are governed by Executive Order 10485, 18 Fed. Reg. 5397 (Sept. 9, 1953), as amended

 by Executive Order 12038, 43 Fed. Reg. 4957 (Feb. 3, 1978). E.O. 10485 tasks the

 Secretary of Energy with processing presidential permit applications. The Secretary of

 Energy receives permit applications and must consult with the Secretaries of Defense and

 State for their recommendations. If all Secretaries agree, the permit is issued or denied

 accordingly. If there is disagreement among the Secretaries, the permit application and the

 Secretaries’ recommendations are submitted to the President for a final decision. A permit

 remains in effect until the President or Energy modifies or revokes it.

        In support of its argument, Energy cites Natural Resource Defense Council v.

 United States Department of State, 658 F. Supp. 2d 105, 109 (D.D.C. 2009) [NRDC]. In

 NRDC the District of D.C. assessed whether the State Department’s issuance of a

 Presidential Permit to TransCanada Keystone Pipeline was reviewable under the APA. The

 permitting scheme at issue required the State Department to issue a permit if it “would

 serve the national interest.” 69 Fed. Reg. 25,299 (Apr. 30, 2004). The State Department

 was required to consult with other agencies and departments. Id. § 1(b)(ii). If any

 disagreed with the State Department, the application was referred to the President “for

 consideration and final decision.” Id. § 1(i). The NRDC Court reasoned:

        The State Department, here, is not acting pursuant to any congressional
        delegation of power, nor is it even acting pursuant to an Executive Order that
        was promulgated to carry out a particular congressional mandate. To the

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        contrary, the State Department is acting solely on behalf of the President, and
        in doing so, it is exercising purely presidential prerogatives.

 658 F. Supp. 2d at 109 (footnote omitted). The NRDC Court further rejected the argument

 that the Supreme Court’s definition of “final agency action” meant that the agency action

 is distinguishable from presidential action where there is no requirement the President

 review and approve the agency decision.           Id.   The NRDC Court ruled that the

 “determinative consideration is whether ‘the President’s authority to direct the [agency] in

 making policy judgments’ is curtailed in any way or whether the President is ‘required to

 adhere to the policy decisions’ of the agency.” Id. at 111 (alterations in original) (quoting

 Franklin, 505 U.S. at 799).

        Plaintiffs argue that both Energy’s issuance of a presidential permit and its issuance

 of NEPA documents are reviewable under the APA. Plaintiffs assert that NRDC was

 “wrongly decided.” Pls.’ Combined Resp. and Reply at 19. In support, Plaintiffs cite to

 multiple decisions outside of the First Circuit that reached the same conclusion. In Protect

 Our Communities Foundation v. Chu, No. 12-cv-3062, 2014 WL 1289444 (S.D. Cal. Mar.

 27, 2014), at *5-6, a California District Court found that Energy’s issuance of a Presidential

 Permit was reviewable under the APA, reasoning that “the purpose and structure of NEPA

 demonstrates that judicial review . . . is appropriate,” and suggesting that the public has a

 role to play in the presidential decision-making process. Id. at *5.

        In Sierra Club v. Clinton, 689 F. Supp. 2d 1147, 1156 (D. Minn. 2010), the District

 Court found that the State Department’s issuance of a Presidential Permit to construct the

 Alberta Clipper Pipeline was reviewable under the APA. The Court reasoned that the


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 permit for the border crossing “does not insulate . . . the environmental impacts of the entire

 pipeline project from judicial review under the APA” or make the State Department’s

 related environmental impact statement a presidential action. Id. at 1157. Similarly, the

 Montana District Court found that the State Department’s issuance of a presidential permit

 in connection with the Keystone XL Pipeline did not insulate related NEPA findings

 associated with the larger project from review. Indigenous Env’t Network v. U.S. Dep’t of

 State, No. CV-17-19, 2017 WL 5632435, at *6 (D. Mont. Nov. 22, 2017).

        In this case, Energy’s involvement with the border crossing of the Project might

 reasonably be regarded as severable from the larger project, which larger project is a private

 initiative rather than a major federal action (more on that below). The private nature of the

 Project offers a point of departure from the pipeline scenarios addressed by the Minnesota

 and Montana District Courts, and calls into question whether they are on point here.

 Furthermore, it is not evident from the record that environmental impacts in the vicinity of

 the cross-border connection are of concern in this litigation. I therefore decline to rule that

 the NEPA statement offered by Energy in connection with its Presidential Permit is

 necessarily subject to APA review. At the same time, because I find below that the NEPA

 review conducted by the Corps and Energy was sufficient, it is unnecessary to decide

 whether Energy’s involvement is insulated from judicial review.

        2. Two EAs instead of one EIS

        Plaintiffs argue that it was improper for the Corps and Energy to issue separate

 Environmental Assessments for the Project because their combined authority over different

 federal permitting requirements transformed the Project into a “major federal action” that

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 requires a more detailed Environmental Impact Statement, and that permitting separate

 EAs would condone segmented analyses designed to minimize the Project’s overall

 environmental impacts. Pls.’ Mot. at 3; Pls.’ Combined Resp. and Reply at 32.

        NEPA provides for two levels of environmental review. If the “proposed agency

 action . . . has a reasonably foreseeable significant effect on the quality of the human

 environment,” then the agency “shall issue” an EIS. 42 U.S.C. § 4336(b)(1). However, if

 the “proposed agency action . . . does not have a reasonably foreseeable significant effect

 on the quality of the human environment,” then the agency “shall prepare” an EA. Id. §

 4336(b)(2). If the agency’s NEPA review concludes with an EA, the document should be

 “a concise public document” that sets forth the basis for the agency’s finding of no

 significant impact or “FONSI.” Id. NEPA also provides that an EIS is the proper level of

 environmental review when federal agencies are reviewing a “major federal action.” 42

 U.S.C. § 4332(C).

               a. Major Federal Action

        The NEPA framework is drawn in a manner that distinguishes between projects that

 are major federal actions and those that are not. Id. §§ 4332(C), 4336(b), 4336(e)(4)-(6).

 A major federal action calls for an EIS. Id. § 4332(C). The task of outlining the hallmarks

 of a major federal action fell to the Council on Environmental Quality. According to its

 1978 regulations, a major federal action generally does not include a “non-federal action,”

 but “actions by non-federal actors ‘with effects that may be major and which are potentially

 subject to Federal control and responsibility’ can be major federal actions.” Mayaguezanos

 por la Salud y el Ambiente v. United States, 198 F.3d 297, 301 (1st Cir. 1999) (quoting 40

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 C.F.R. § 1508.18 (1978)). Through more recent regulations, since superseded, CEQ

 loosened the major federal action definition, extending the concept to “government actions

 that authorize non-federal activities, such as approving private projects ‘by permit or other

 regulatory decision.’” 40 C.F.R. § 1508.18(a), (b)(4) (2018) (superseded effective Sept.

 14, 2020). Under that approach, the federal versus private nature of the project matters less

 than the significance of the project’s impacts on the environment.

           Federal control and responsibility mean something more than the power to grant or

 withhold a permit, otherwise every project subject to federal permitting would be a major

 federal action. In the First Circuit, at least under the 1978 regulations, courts were to “look

 to whether federal approval is the prerequisite to the action taken by the private actors and

 whether the federal agency possesses some form of authority over the outcome.”

 Mayaguezanos, 198 F.3d at 302. Federal funding was a typical example of a scenario that

 would make a private project subject to review as a potential major federal action. Id.

           Although the Project is a large-scale electrical project subject to federal permit

 requirements, 9 it is a non-federal project proposed and carried out by state government and

 private industry. The Project is not federally funded, was not instituted at the behest of the

 federal government and is not subject to federal control upon completion. Given the

 absence of such characteristics, I find that the Corps and Energy did not abuse their

 discretion by concluding that the Project is not a federal action. However, the question

 remains whether the significance of the Project transforms the mere exercise of permitting



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     Four federal agencies have touched parts of this Project. See Sierra Club, 997 F.3d at 406.

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 authority into a major federal action. This inquiry will overlap with the baseline inquiry

 related to the significance of a proposed action in terms of the need for either an EA/FONSI

 or an EIS, which is addressed below. Before reaching it, I pause to consider whether there

 are other technical deficiencies that would compel a remand.

               b. Under First Circuit Binding Precedent, CEQ Regulations Do Not Require
                  Agencies to Consolidate Environmental Assessments

        Plaintiffs contend that the provision of separate EAs by the Corps and Energy is a

 freestanding violation of NEPA regulations. The First Circuit has already rejected

 Plaintiffs’ claim that CEQ regulations required the Corps and Energy to consolidate their

 Environmental Assessments. Plaintiffs first raised this argument on appeal from my earlier

 order denying their request for a preliminary injunction. Sierra Club v. U.S. Army Corp of

 Eng’r, 997 F.3d 395, 406 (1st Cir. 2021). The First Circuit held that “CEQ regulations

 direct agencies to coordinate in preparing an ‘impact statement,’ 40 C.F.R. § 1508.25(a)(1)

 [(2020)]. CEQ does not impose similar requirements on EAs and plaintiffs provide no

 other source of authority for such a requirement.” Id.

        “[A] panel decision on a preliminary injunction motion constitutes binding

 precedent, at least when the record before the panel was ‘sufficiently developed and the

 facts necessary to shape the proper legal matrix we[re] sufficiently clear.’” Comcast of

 Me./N.H., Inc. v. Mills, 988 F.3d 607, 612 (1st Cir. 2021) (alteration in original) (quoting

 Naswer Jewelers, Inc. v. City of Concord, 538 F.3d 16, 20 (1st Cir. 2008)). So it is here.

        The First Circuit, in the context of an interlocutory appeal, interpreted the plain

 language of CEQ regulations. Those regulations command that “[c]onnected actions . . .


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 should be discussed in the same impact statement,” 40 C.F.R. § 1508.25(a)(1) (2020)

 (emphasis added), which the First Circuit held to mean agency coordination is only

 required in preparing an EIS and not an EA. Sierra Club, 997 F.3d at 406. Contrary to

 Plaintiffs’ argument, I see no reason why further development of the record was needed to

 “shape the proper legal matrix” of a plain-language interpretation or how the revelation of

 new underlying facts would change that interpretation. Comcast of Me., 988 F.3d at 612.

        Plaintiffs further argue that they have now provided authority for the requirement

 that EAs should be consolidated. This authority is in the form of courts interpreting the

 CEQ “connected action” regulation as applying to EAs. Pls.’s Mot. at 24. These are not

 “source[s] of authority for such a requirement,” Sierra Club, 997 F.3d at 406, so much as

 they are court interpretations of CEQ regulations that differ from the First Circuit’s, and

 none of those interpretations are binding on this Court. Accordingly, Plaintiffs’

 segmentation argument fails so long as it was appropriate for the Corps and Energy to

 prepare EAs rather than EISs.

        Even if CEQ regulations regarding segmentation applied to agencies’

 Environmental Assessments, I cannot find that the Corps and Energy impermissibly

 segmented their analyses. Segmentation doctrine “prevent[s] agencies from dividing one

 project into multiple individual actions each of which individually has an insignificant

 environmental impact, but which collectively have a substantial impact.” Nat’l Res.

 Defense Council v. Hodel, 865 F.2d 288, 297 (D.C.Cir.1988).            “‘Piecemealing’ or

 ‘segmentation’ allows an agency to avoid the NEPA requirement that an EIS be prepared

 for all major federal action with significant environmental impacts by segmenting an

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 overall plan into smaller parts involving action with less significant environmental effects.”

 City of West Chicago v. U.S. Nuclear Regul. Comm’n, 701 F.2d 632, 651 (7th Cir. 1983).

        The ultimate inquiry is whether the Corps and Energy artificially limited their

 jurisdiction to avoid producing an EIS. See Conservation L. Found. v. Federal Highway

 Admin., 827 F. Supp. 871, 878 (D. R.I. 1993). In assessing this, I am mindful that “NEPA

 does not mandate action which goes beyond the agency’s organic jurisdiction.” Gage v.

 U.S. Atomic Energy Comm’n, 479 F.2d 1214, 1220 n.19 (D.C. Cir. 1973).

        The Corps’ and Energy’s oversight of the Project is limited to review of the Project

 in connection to issuing a permit to discharge material in waters of the United States and a

 presidential permit to make a cross-border connection, respectively. Given the agencies’

 limited involvement in this non-federal project, it is hard to see how either could

 impermissibly segment their actions. In any event, Energy’s EA makes clear that improper

 segmentation did not occur, since it incorporated the Corps’ EA, along with the Maine state

 agencies’ environmental assessments. DOE_AR_61305-06 (“None of the agencies found,

 with these [mitigation] conditions, a potential for significant environmental impact . . .

 [Energy] has reviewed the conditions and finds them to be reasonable and appropriate.”).

 Energy’s own analysis then “considered potential environmental effects of the project for

 the length of the line from the United States-Canada border to the point of first

 interconnection in Lewiston, Maine.” DOE_AR_61305.

        Plaintiff’s do not challenge Energy’s scope either, but merely argue that a

 consolidated environmental analysis would have included not only “the impacts the Corps

 determined were within the scope of its NEPA jurisdictional analysis of WOTUS, but also

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 the impacts [Energy] considered.” Pls.’s Mot. at 25. In fact, Energy’s EA includes, by

 incorporation, all this analysis. See, e.g., Weiss v. Kempthorne, 683 F. Supp. 2d 549, 561-

 62 (W.D. Mich. 2010), aff’d in part Weiss v. Secretary of U.S. Dept. of Interior, 459 F.

 App’x 497 (6th Cir. 2012) (“The difficulty with Plaintiffs’ segmentation claim, however,

 is that the aspects of the [project] that were not addressed in [National Park Service’s]

 review were addressed by the Corps in its review.”).

        I appreciate Plaintiffs’ representation that it is frustrating that the Corps and Energy

 would have announced an intention to issue a joint EA but then did not do so. See

 Corps_59242, 59253, 59686. However, “it is not the place of a reviewing court to second-

 guess the agency.” Safeguarding the Historic Hanscom v. F.A.A., 651 F.3d 202, (1st Cir.

 2011). In any event, communications between the Corps and Energy note Energy’s

 concern that the Corps’ timeline would not give Energy enough time to review the Corps’

 EA or adhere to its own regulations, Corps_59253, which provides a fair justification for

 the separate environmental assessments. Because improper segmentation is not present

 here, I am not persuaded that the eventuality of separate EAs reflects arbitrary or capricious

 decision-making or resulted in meaningful harm to Plaintiffs’ NEPA interests.

        3. Do The Impacts Alone Require an EIS?

        Plaintiffs argue that the idea that an EA and FONSI could suffice in this case is the

 product of (a) an arbitrary focus on only local environmental impacts rather than the

 Project’s holistic impacts, including regional and national impacts; (b) over-emphasis on

 the Project’s benefits over its detriments; (c) disregard for unique characteristics of the



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 Project; (d) endorsement of controversial greenhouse gas findings; and (e) reliance on

 unproven mitigation measures.

        For reference, the Corps’ permit authorizes a project consisting of the placement of

 temporary and permanent fill in waters of the United States between Beattie Township and

 Lewiston, Maine. Conditions imposed on the fill activity include sediment and erosion

 control and, specific to streams, prohibit any stream crossing involving in-stream work or

 the discharge of temporary or permanent fills into streams. Temporary crossings are to be

 removed and pre-crossing conditions restored. Permit at 9 ¶¶ 4-6 (ECF No. 31-5). A

 review of drawings depicting the transmission line show spaced water-discharge impacts

 to local waters (mostly to wetlands lacking contiguity to navigable water bodies) where

 transmission poles touch down and where widely scattered substations and similar facilities

 are to be installed. In this context, the Corps considered the intensity of the permitted

 activity, following 40 C.F.R. § 1508.27 (2020), and reasoned: “When considering impacts

 to waters of the US on a linear transmission project like the current proposal, significance

 is measured by the impacts felt at a local scale, as opposed to a regional or nationwide

 context.” Corps_59237. It further observed that the new portions of the Project run

 through predominantly managed commercial timberlands. Corps_59237-38.

        The Corps’ approach to the scope of its significant impact review is grounded in its

 regulations. Specifically, the regulations provide that when a permit application proposes

 “a specific activity requiring a Department of the Army (DA) permit, . . . which is merely

 one component of a larger project,” the scope of the NEPA review, as in the Corps’ EA

 versus EIS analysis, is calibrated “to address the impacts of the specific activity requiring

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 a [Department of the Army] permit and those portions of the entire project over which the

 district engineer has sufficient control and responsibility to warrant Federal review,” not

 the entire project. 33 C.F.R. pt. 325, app. B, § 7(b) (“Appendix B”). The CEQ has

 condoned this approach. Implementation of National Environmental Policy Act; Council

 recommendations, 52 FR 22517-02 (CEQ June 12, 1987). I do not find it to be an abuse

 of discretion for the Corps to follow its regulation in this case. 10

                 a. Holism

         Plaintiffs argue that the Corps’ focus on the permitted discharge activity is myopic

 and that NEPA requires a holistic assessment of follow-on impacts on “society as a whole

 (human, national), the affected region, the affected interests, and the locality.” Pls.’ Mot.

 at 27 (quoting 40 C.F.R. § 1508.27(a)). On a regional level, they argue that the Corps also

 failed to appreciate the impacts to cold water fisheries and native brook trout. Id. at 27-28

 (citing concerns raised by Maine Department of Inland Fisheries and Wildlife in its 2018

 Environmental Permit Review, Corps_8580 (title page), 8590-91, which concerns helped

 to shape mitigation measures, Corps_51666). Plaintiffs’ argument hides the fact that the

 Corps considered what all state regulatory agencies and others had to say about water-

 based impacts and concluded that the considerable mitigation measures that address these

 concerns avoid a significant impact on waters and fisheries. This conclusion is consistent

 with the assessment the Maine Department of Environmental Protection made in its


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    Plaintiffs also argue the Corps failed to explain how CMP’s culvert replacement program will mitigate
 impacts to fish or address how that mitigates NECEC impacts specifically. These arguments fail for much
 of the same reason. The Corps public interest conclusion that the culvert replacement program will benefit
 fisheries and habitats, and, among other mitigation efforts, will render the Project “neutral” with respect to
 fish and wildlife is reasonable considering the record and state agency findings.

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 Findings of Fact and Order on, among other things, freshwater wetland alteration and water

 quality certification. Corps_51603 (title page), 51686-88.

        When it comes to the Corps’ statutory obligation to “restore and maintain the

 chemical, physical, and biological integrity of the Nation’s waters,” 33 U.S.C. § 1251(a),

 I am not persuaded that the Corps’ FONSI finding was arbitrary and capricious. It is not

 evident to me that the Project negatively impacts the Nation’s waters beyond its localized

 impacts. Nor is it evident that the Corps’ EA deprived the public of information not already

 of record or a procedural step that would serve an interest other than delay.

               b. Benefits v. Detriments

        Plaintiffs’ argument here focuses on the Corps’ NEPA analysis and applicable

 regulations. The Corps NEPA regulations provide that “[i]n all cases, the scope of analysis

 used for analyzing both impacts and alternatives should be the same scope of analysis used

 for analyzing the benefits of a proposal.” 33 C.F.R. pt. 325 app. B, § (7)(b). Under this

 regulation, Plaintiffs grieve where the Corps’ EA considers broad-ranging benefits but

 limits detriments to direct WOTUS impacts. But, as the Corps points out, its EA contains

 not only its NEPA review, but a CWA 404(b)(1) analysis, with its public interest review.

 A regulation that applies only to the Corps’ NEPA obligations does not act to expand the

 scope of the Corps’ NEPA review simply because the Corps discusses broader impacts in

 its CWA public interest analysis.

        Still, Plaintiffs persist that the Corps’ EA reveals that the Corps impermissibly

 manipulated the scale of its NEPA review. Plaintiffs conjecture is that because the Corps’

 alternative analysis cites both NEPA and CWA standards, when it discusses large-scale

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 project benefits it is obligated under NEPA to use the same scale when discussing

 detriments. This is false. The Corps’ alternatives analysis begins:

        An evaluation of alternatives is required under the Section 404(b) (1)
        Guidelines for projects that include the discharge of dredged or fill material.
        NEPA requires discussion of a reasonable range of alternatives, including the
        no action alternative, and the effects of those alternatives; under the
        Guidelines, practicability of alternatives is taken into consideration and no
        alternative may be permitted if there is a less environmentally damaging
        practicable alternative. Although the Corps scope of authority in this matter
        is limited by the small area of jurisdictional impact, a full analysis of
        alternatives is none the less presented.

 Corps_59136.     As this section covers multiple requirements, it is unsurprising its

 discussions have an expansive scope. For instance, in the no action alternative discussion

 Plaintiffs cite, the Corps discussed broad benefits and direct impacts—covering the dual

 scopes of review. See Corps_59136. In essence, Plaintiffs ask that I demand the Corps to

 re-write its alternatives analysis to make this separation clearer. But the Corps explicitly

 laid out its two standards for considering alternatives and its conclusions do not evidence

 an arbitrary muddling of these standards. I will not remand the Corps’ decision simply so

 it reworks its EA into separate conversations that ultimately reach the same conclusion.

        Plaintiffs also argue that the Corps further arbitrarily narrowed its NEPA scope by

 considering only direct impacts without giving fair consideration to indirect or cumulative

 impacts. The Corps’ scarce discussion on indirect/cumulative impacts was again due to its

 limited oversight of the Project. See Corps_59124 (“The limited extent of USACE scope

 of authority in this Project has been repeatedly noted in this EA. As such, activities

 occurring on uplands that are outside our control and responsibility, e.g. upland forest

 conversion/fragmentation are not discussed in great detail or considered further.”).

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 Plaintiffs again attempt to expand the scope of the Corps’ NEPA review by linking it to the

 scope of conditions the Corps set in granting its CWA permit. This misreads the applicable

 regulations:

        District engineers will add special conditions to Department of the Army
        permits when such conditions are necessary to satisfy legal requirements or
        to otherwise satisfy the public interest requirement. Permit conditions will
        be directly related to the impacts of the proposal, appropriate to the scope
        and degree of those impacts, and reasonably enforceable.

 33 C.F.R. § 325.4. Plaintiffs argue that “those portions of the entire project over which the

 district engineer has sufficient control and responsibility” should expand to match the

 scope of the Corps’ conditions. 33 C.F.R. pt. 325 app. B(7)(b). Under Plaintiffs’ approach,

 if a project’s impacts are far reaching but the WOTUS impacts are not, or if the Corps must

 impose a broad condition for compliance with the law, the Corps suddenly has NEPA

 responsibility for the entire project. But the fact that the Corps may impose a condition

 that limits deforestation to serve the ends of a state regulatory program, for example, or to

 ensure compliance with the Endangered Species Act, does not mean the Corps’ CWA

 jurisdiction expands beyond WOTUS and into the woods and upland habitat. 11

                c. Unique Characteristics

        At the time of the Corps’ analysis (but not Energy’s), NEPA regulations required

 that agencies consider the intensity, or severity, of environmental impact. 40 C.F.R. §

 1508.27(b) (2020). 12 To evaluate intensity, agencies consider the “[u]nique characteristics


 11
    In any event, the Corps did discuss indirect and cumulative impacts, subject to its limited overview
 disclaimer. See Corps_59215-225.
 12
   Defendants argue Plaintiffs have waived the right to challenge Energy’s EA by failing to raise a
 substantive argument in their filings. Plaintiffs respond that Energy’s EA incorporated the Corps’

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 of the geographic area.” Id. Plaintiffs argue the Project area is a unique and ecologically

 critical area that is host to diverse wildlife whose habitats will be fragmented by the

 Project. 13 They see the impacted region not as an area of heavily managed timberlands,

 but as “the heart of the Northern Appalachian/Acadian Forest Ecoregion, an integral piece

 of the largest and most intact temperate forest in North America.” Pls.’ Mot. at 30-31.

 Plaintiffs contend the Corps’ conclusion that the uniqueness factor did not support

 preparing an EIS must give under the weight of record evidence to the contrary.

         Plaintiffs’ uniqueness arguments largely extend beyond the Corps’ jurisdiction. The

 Corps jurisdiction (and therefore NEPA impact assessment) extends to only 1.9% of the

 Project. The Corps assessment of uniqueness is not of the Project’s whole area but of

 jurisdictional wetlands. In assessing “[u]nique characteristics” of the Project’s area within

 its control, the Corps determined:


 assessment, so any arbitrary and capricious decision of the Corps transfers to Energy. Ordinarily, Plaintiffs’
 position would hold WOTUS. However, Intervenor Defendant notes that the NEPA regulations under
 which Plaintiffs argue (the intensity factors of uniqueness and scientific controversy) were removed in
 September 2020. See 40 C.F.R. § 1506.13 (2020). Under its discretion, Energy applied the new regulations.
 See id. Plaintiffs argue their attacks on the Corps’ NEPA analysis apply to Energy’s analysis equally, but
 Plaintiffs uniqueness arguments are almost entirely isolated to the Corps. See Pl.’s Mot. at 32 (“Therefore,
 the Corps’ conclusory determination that [uniqueness] did not support an EIS is at odds with the record and
 the Corps deserves no deference in the absence of any analysis.”). It does not follow that a successful attack
 on the Corps’ EA would also defeat Energy’s EA given the new regulations Energy applied. Consequently,
 where Plaintiffs specifically develop an argument against Energy’s analysis, I will address it. See United
 States v. Diggins, 36 F.4th 302, 319 (1st Cir. 2022) (“We have repeatedly made clear that a party waives
 an argument when it ‘neither develops the argument nor accompanies it with even a shred of authority.’”
 (quoting United States v. González, 981 F.3d 11, 23 (1st Cir. 2020), cert denied, 141 S. Ct. 1710 (2021))).
 13
   It is unsurprising Plaintiffs urge for northern Maine’s uniqueness. The Western Maine Mountains provide
 forest travel for moose and lynx, are a Globally Important Bird Area per the National Audubon Society and
 Birdlife International, are a core habitat to the American marten, and hold the most intact native trout
 population within the continental United States. See generally DOE_19716-733. But my assigned task is
 not to determine the uniqueness of northern Maine. I must assess whether Federal Defendants acted
 arbitrarily and capriciously, that is without reason, in considering the impacts of the Project on the unique
 characteristics of the region, limited to the Defendants’ jurisdiction.

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        Approximately 74% of the Project’s transmission line components, inclusive
        of the 144.9-mile HVDC transmission line, are collocated within an existing
        transmission line corridor. The 53.1 miles segment of new corridor for the
        HVDC transmission line will be almost entirely located within heavily
        managed commercial timberlands. Six of the eight converter or substations
        projects will be on-site upgrades to existing facilities with no impact to
        waters of the U.S. The impacts to waters of the U.S. are discussed above, and
        do not constitute a significant impact. There are no designated parklands,
        wild and scenic rivers, ecologically critical areas, or prime farmlands
        impacted. Impacts to the Appalachian National Scenic Trail will be
        mitigated. The permit has been conditioned to further minimize the project’s
        short-term, long-term, and cumulative impacts, and there are no unique
        characteristics that will be impacted by the proposed project.

 Corps_59237. With respect to Plaintiffs habitat fragmentation concerns, the Corps found

 MDEP’s prescribed reduction in tree clearing and CMP’s vegetation management practices

 would minimize forest wetland conversion. This conclusion is not unreasonable based on

 MDEP findings and record evidence.

        Plaintiffs again argue the Corps’ finding places quantity of impact over quality of

 impact, but the Corps EA discussed specific habitat impacts and mitigation effects before

 using acreage in its concluding paragraph. My earlier disposition on the Corps’ conclusion

 has not changed. Sierra Club, 2020 WL 7389744, at *16 (D. Me. 2020). I remain

 unconvinced by Plaintiffs that the Corps’ WOTUS-focused discussion of these factors was

 “arbitrary and capricious, abusive of discretion, or a violation of law.” These extra-

 jurisdictional project concerns, though considerable, are subject to the stewardship of the

 State of Maine in the final analysis.

               d. Greenhouse gas

        The parties again argue over competing analyses surrounding the Project’s effect on

 GHG emissions, this time with respect to Federal Defendants’ intensity determinations.

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 CEQ regulations provided intensity evaluations should consider “[t]he degree to which the

 effects on the quality of the human environment are likely to be highly controversial.” 40

 C.F.R. § 1508.27(b)(4). 14 Plaintiffs insist that because there was debate around GHG

 emissions the controversy intensity factor weighs in favor of producing an EIS. I have

 addressed Plaintiffs arguments over the competence of GHG studies relied upon by the

 Corps and Energy. The fact that there are competing studies does not show the Project’s

 effect on GHG emissions is “highly controversial.”

         With opponents and proponents for the Project it is no surprise that virtually every

 aspect of the Project was met with evidence for and against it. But expected factual

 competition is not a high controversy. And at every level of review for this Project,

 agencies determined, based on competing evidence before them, that the Project would

 reduce GHG emissions. It is not unreasonable for the Federal Defendants to find the same,

 nor to find that GHG emissions were not highly controversial.

         e.      Mitigation Measures

         Plaintiffs last NEPA argument is that Federal Defendants’ FONSIs are arbitrary and

 capricious for relying on mitigation without discussing its effectiveness. Plaintiffs accuse

 Energy of wholesale reliance on MDEP state findings and the Corps of lacking discussion

 of the impacts of mitigation.


 14
   This regulation was removed in September 2020. 40 C.F.R. § 1506.13 (2020). While the Corps analyzed
 intensity factors under the previous iteration of CEQ regulations, Energy did not. Nonetheless, Plaintiffs
 request that I review both Energy’s and Corps’ conclusions regarding GHG emissions. In support, they
 cite out-of-circuit precedent that predates CEQ’s intensity factors but still required agencies to assess
 uncertainties in their EIS. While I do not find nonbinding precedent that predates both CEQ’s intensity
 factors and subsequent removal of those same factors particularly persuasive, in an abundance of caution I
 consider whether Energy’s GHG conclusions were arbitrary and capricious.

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        With respect to the Corps, Plaintiffs specifically contend CMP’s mitigation efforts

 to limit impacts to vernal pools and brook trout do not adequately mitigate impacts and the

 Corps acted arbitrarily and capriciously by accepting the measures without adequate

 analysis. Plaintiffs again run into the barricade that is the Corps’ limited NEPA scope.

 There is no discharge into brook trout habitat under the Corps’ purview. See Corps_59081-

 83, 117. On vernal pools, Plaintiffs accuse the Corps of improperly relying on MDEP

 findings that CMP’s mitigation was adequate. Plaintiffs take issue with the differing state

 and federal definitions of vernal pool and on that basis argue that MDEP’s analysis did not

 fully overlap with the Corps review responsibility. In any event, the Corps considered

 mitigation measures as to vernal pools to be within its jurisdiction:

        The access to and placement of structures has been designed to avoid and
        minimize impacts to vernal pools to the maximum extent practicable. Of the
        757 vernal pools located within the Project area, 674 were avoided, leaving
        83 (11%) that will be impacted by permanent fill. When considering vernal
        pool impacts, only four of the vernal pool depressions that are within Corps
        jurisdictional areas are proposed for permanent fill, totaling approximately
        2.218 acres. However, recognizing that many vernal pools are part of a larger
        wetland system and that important habitat/water quality contributions are
        served by the surrounding vernal pool envelope, and in order to be consistent
        with the state permitting authority, the applicant calculated impacts to the
        vernal pool depressions and the 100' envelope. The applicant also based the
        mitigation plan using the same methodology. In instances where a pool’s
        surrounding habitat spans the entire width of the corridor; impacts associated
        with equipment access will be minimized by utilizing temporary timber mats
        to reduce disturbance. For vernal pools that will be spanned by electric
        conductors, there is still the potential for limited indirect impacts through
        conversion of minor amounts of adjacent forested uplands and wetlands. The
        potential for these indirect impacts is minimal since the transmission line
        corridor will be maintained in a well vegetated state, and only a small
        proportion of the forested area around any of these pools will be removed for
        the proposed transmission line corridor. There should still be ample foraging
        and overwintering habitat available and the pools themselves are expected to
        remain productive for the most part. Temporary impacts to adjacent wetlands

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         can occur from equipment travel along the transmission line corridor. These
         impacts will be minimized by working during frozen conditions (outside the
         breeding season) or by employing other techniques to minimize impacts.
         Disturbed areas within the surrounding habitat of vernal pools will be
         stabilized and restored as soon as practicable.

 Corps_59091. 15 The Corps also considered a compensatory mitigation plan which I

 discussed in previous proceedings.             Sierra Club, 2020 WL 7389744, at *21.                    The

 compensation plan tends to preserve high-value wetlands, such as vernal pools, and does

 not come at the expense of sacrificing others. I do not find the Corps’ conclusion that

 impacts to vernal pools have been sufficiently mitigated to support a FONSI arbitrary and

 capricious or unsupported by substantial evidence.

         With respect to Energy, the agency did not solely rely on MDEP findings. It

 incorporated the Corps’ own EA and mitigation analysis. Energy’s EA also discusses the

 extensive compensation plan. DOE_AR_61352-54, 357. Energy’s incorporation of prior

 decisions does not render its FONSI arbitrary and capricious—it is grounded in record

 evidence already evaluated by prior agencies and again by Energy. 16

 C.      Broken Promises

         Finally, Plaintiffs argue that Energy proceeded in an arbitrary and capricious

 manner when it went back on the representation that it would circulate a draft

 environmental document for comment. According to Plaintiffs, that event harmed their


 15
    Defendants argue, not without merit, that even if I found the Corps’ analysis arbitrary and capricious any
 error is harmless after Sacket v. EPA drastically reduced the Corps’ jurisdiction by redefining wetlands.
 598 U.S. 651, 678 (2023) (“In sum, we hold that the CWA extends only to those wetlands that are as a
 practical matter indistinguishable from waters of the United States.” (internal quotations and citation
 omitted)). Because I do not find error in the Corps’ analysis, I do not discuss this argument further.
 16
    To the extent Plaintiffs brook trout arguments are applicable to Energy, the adequacy of mitigation via
 buffers has already been discussed.

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 NEPA procedural rights because they relied on a “promise” and otherwise expected the

 opportunity based on Energy’s prior “practice.” Pls.’ Mot. at 35-40.

        In support of their argument, Plaintiff’s note that Energy’s shift away from policy

 requires adequate explanation. See Encino Motorcars v. Navarro, 579 U.S. 211, 221

 (2016). Plaintiffs construct the alleged policy of providing a comment opportunity on draft

 EAs based on the Federal Defendants’ answer that Energy has conducted public hearings

 on EISs, data from Energy showing that 85 percent of EA drafts from 2016 to 2020 allowed

 for public comment, and an email from the Deputy Assistant Secretary representing that

 Energy’s regulations required public comment.

        For purposes of finding an agency decision arbitrary and capricious, I am not

 convinced that these trends and a representation amount to an official policy stance. See

 I.N.S. v. Yueh-Shaio Yang, 519 U.S. 26, 32 (1996) (“Though the agency’s discretion is

 unfettered at the outset, if it announces and follows-by rule or by settled course of

 adjudication-a general policy by which its exercise of discretion will be governed, an

 irrational departure from that policy (as opposed to an avowed alteration of it) could

 constitute action that must be overturned as ‘arbitrary, capricious, [or] an abuse of

 discretion . . . .’” (emphasis added) (alteration in original) (quoting 5 U.S.C. § 706(2)(A))).

 That Energy has allowed comment on EISs does not necessarily make it an agency policy

 created by rulemaking or adjudication, let alone to do the same for EAs. And, apparently,

 in the snippet of time Plaintiffs’ data on Energy’s EAs covers, 15 percent of those EAs did

 not receive public comment, further indicating there is no brightline policy as to public

 comment.

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        The representation by the Deputy Assistant that there was such a brightline policy

 seems to be the strongest evidence Plaintiffs present. But it is contradicted by Energy’s

 past practice of not allowing comment on draft EAs. Furthermore, Plaintiffs do not cite to

 any evidence that Energy promulgated rules or regulations creating this policy. The usual

 agency waffling that is found arbitrary and capricious reflects an irrational departure from

 settled action. That is, the agency makes it position clear through some final agency action

 only to ignore it later. Here, Energy seems to have reneged on a promise but not on its

 own regulations or officially promulgated policy. Was it discourteous? Yes. Was it

 arbitrary and capricious under the APA? No.

                                       CONCLUSION

        For the foregoing reasons Defendants’ Cross Motions for Summary Judgment (ECF

 Nos. 181 & 183) are GRANTED and Plaintiffs’ Motion for Summary Judgment (ECF No.

 177) is DENIED.

        SO ORDERED.

               Dated this 31st day of March, 2025

                                           /s/ Lance E. Walker
                                           Chief U.S. District Judge




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